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 5                             UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )                 Case No. 2:05-cr-0100-RLH-LRL
 9                     Plaintiff,        )                          2:06-cr-0002-RCJ-GWF
                                         )
10         vs.                           )                 (Motion for Recommendation–#313)
                                         )
11   NELSON OSEMWENGIE,                  )
                                         )
12                     Defendant.        )
     ____________________________________)
13

14                  The Court having considered Defendant Nelson Osemwengie’s Motion for Judicial

15   Recommendation for Placement at the Federal Correctional Institution in Terminal Island

16   (#313, filed July 6, 2010), and for good cause appearing, hereby grants the motion and RECOM-

17   MENDS to the Bureau of Prisons that Defendant Nelson Osemwengie be permitted to serve his

18   sentence at the FCI Terminal Island facility in California.

19                  Dated: July 12, 2010.

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21                                                         ____________________________________
                                                           Roger L. Hunt
22                                                         Chief United States District Judge

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